                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


 PHILIP B. STARK, et al.,

                        Plaintiff,                              Case no.: 1:21-cv-00838-CKK

        v.                                                      Judge Colleen Kollar-Kotelly

 UNITED STATES ELECTION ASSISTANCE
 COMMISSION,

                        Defendant.


                    DECLARATION OF COURTNEY HOSTETLER
              IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

       I, Courtney Hostetler, declare under penalty of perjury under the laws of the United
States of America that the following is true and correct:
   1. I am counsel at Free Speech For People, located at 1320 Centre Street #405, Newton, MA
       02459, and my telephone number is 617-249-3015.
   2. I submit this declaration in support of my motion for admission to practice pro hac vice
       in the above captioned matter.
   3. I have been admitted to practice in the following courts and bars:

       State of Massachusetts
       U.S. District Court for the District of Massachusetts
       Fifth Circuit Court of Appeals

   4. I am a member in good standing of the Bar of the State of Massachusetts.
   5. I have not been disciplined by any bar and there are no pending disciplinary proceedings
       against me in any State or Federal court.
   6. I have not previously been admitted pro hac vice in this Court.
   7. I am not a member of the District of Columbia Bar nor do I have an application pending.
   8. I do not have an office located within the District of Columbia.
   9. Wherefore your declarant respectfully submits that she be permitted to appear as counsel
       and advocate pro hac vice in this case for Plaintiffs.
Dated the 11th day of August, 2021
                                             /s/ Courtney Hostetler
                                         ______________________________
                                          Courtney Hostetler
                                          Senior Counsel
                                          Free Speech For People
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                                          Newton, MA 02459
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